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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION

EMPLOYERS INSURANCE COMPANY
OF WAUSAU,

           Plaintiff,

v.                                 Case No:    2:18-cv-601-FtM-99MRM

REDLANDS CHRISTIAN      MIGRANT
ASSOCIATION, INC.,

           Defendant.



                                   ORDER

      On April 16, 2019, the Court issued an Order to Show Cause

(Doc. #31) directing plaintiff to show cause why the case should

not be dismissed for failure to prosecute. Plaintiff was on notice

that the failure to respond would result in a dismissal without

prejudice and without further notice.         No response has been filed

and the time to respond has expired.

      Accordingly, it is now

      ORDERED AND ADJUDGED:

      This action is DISMISSED without prejudice for failure to

prosecute.    The Clerk shall enter judgment accordingly, terminate
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all previously scheduled deadlines and pending motions, and close

the file.

      DONE AND ORDERED at Fort Myers, Florida, this         25th    day of

April, 2019.




Copies:
Parties of record




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